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 6   (Additional counsel appearing on signature page)
 7

 8
                                  UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                              )         Case Number: 3:19-cv-00612-MMC
11   RACHEL BULETTE, individually and on )
     behalf of all others similarly situated, )         PLAINTIFF’S NOTICE OF MOTION,
12
                                              )         UNOPPOSED MOTION FOR
13                   Plaintiff,               )         PRELIMINARY APPROVAL OF CLASS
                                              )         ACTION SETTLEMENT AND
14   v.                                       )         INCORPORATED MEMORANDUM OF
                                              )         LAW
15   WESTERN DENTAL SERVICES INC., et. )
16   al,                                      )         Hearing Date: March 6, 2020
                                              )         Hearing Time: 9:00 a.m.
17                   Defendants.              )         Courtroom: 7
                                              )         Judge: Maxine M. Chesney
18                                            )
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                                                                         iv                   MOTION FOR PRELIMINARY
                                                                                              APPROVAL OF SETTLEMENT
                                                                                              CASE NO. 3:19-CV-00612-MMC
 1        TO THE HONORABLE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2   RECORD:
 3
              PLEASE TAKE NOTICE that on March 6, 2020 at 9:00 a.m. or as soon thereafter as this
 4
     matter may be heard in Courtroom 7 of the United States District Court for the Northern District of
 5
     California, San Francisco Division, located at 450 Golden Gate Avenue, San Francisco, California,
 6

 7   94102, before the Honorable Maxine M. Chesney, Plaintiff Rachel Bulette, on behalf of herself and

 8   a class of similarly situated persons, with the consent of Defendants Western Dental Services, Inc.

 9   and RevSpring, Inc., will and hereby does move the Court, by and through its counsel, for entry of
10
     an order preliminarily approving the class action settlement set forth in the Parties’ Settlement
11
     Agreement (“Settlement” or “Agreement”), certifying a class for settlement purposes, and
12
     providing for issuance of Notice to the Settlement Class. 1 This motion is based on this Notice of
13
     Motion, the following Memorandum of Points and Authorities, the Declaration of Avi R. Kaufman
14

15   (including exhibits attached thereto), all pleadings, records and papers on file, and such other

16   matters that may be presented to the Court.
17       I.      INTRODUCTION
18
              The Settlement Agreement establishes a non-reversionary Settlement Fund in the amount
19
     of $9,700,000 for the benefit of the Settlement Class, which will also be used to pay the settlement
20
     costs. In addition to this excellent monetary result, as a direct result of this litigation, Defendants
21

22   have ceased the practice of texting cellular numbers after receiving “Stop” requests in response to

23   messages sent by or on behalf of Western Dental. If approved, the Settlement will bring an end to

24   what has otherwise been, and likely would continue to be, hard-fought litigation centered on
25   unsettled legal questions.
26

27   1
       The Agreement is attached as Exhibit 1. All capitalized terms used herein have the same
     definitions as those defined in the Agreement. Plaintiff anticipates filing the parties’ signature pages
28   by Monday, February 3, 2020.
                                                        1                MOTION FOR PRELIMINARY
                                                                         APPROVAL OF SETTLEMENT
                                                                        CASE NO. 3:19-CV-00612-MMC
 1          This motion seeks the entry of an order providing for, among other things:
 2          1. Preliminary Approval of the Settlement;
 3
            2. Preliminary certification of a Settlement Class and appointment of Plaintiff as Class
 4
                Representative and Plaintiff’s counsel Avi R. Kaufman and Rachel E. Kaufman,
 5
                Kaufman P.A., and Stefan Coleman, Law Office of Stefan Coleman, P.A., as Class
 6

 7              Counsel;

 8          3. Approval of the Settlement Administrator;

 9          4. Approval of the Notice program describing:
10
                   a. The Settlement and the Settlement Class Members’ rights with respect to the
11
                       Settlement;
12
                   b. The proposed Release of claims;
13
                   c. Class Counsel’s request for attorneys’ fees and expenses and a service award for
14

15                     the Class Representative; and

16                 d. The procedures for opting-out of and for objecting to the Settlement.
17          5. Approval of the Claims process; and
18
            6. The scheduling of a Final Approval Hearing to consider Final Approval of the
19
                Settlement.
20
            The Parties’ proposed Settlement is exceedingly fair and well within the range of
21

22   Preliminary Approval for several reasons. See Declaration of Avi R. Kaufman (attached as Exhibit

23   2) ¶ 2. First, it provides immediate relief for Settlement Class Members where their recovery, if

24   any, would otherwise be uncertain, especially given Defendants’ willingness to continue their
25   vigorous defense of the case. Second, the Settlement was reached only after first engaging in
26
     extensive discovery and extensive arm’s-length negotiations, including a full-day mediation before
27
     mediator Bruce A. Friedman with JAMS in Los Angeles. Third, the Settlement was not conditioned
28
                                                       2             MOTION FOR PRELIMINARY
                                                                     APPROVAL OF SETTLEMENT
                                                                     CASE NO. 3:19-CV-00612-MMC
 1   on any amount of attorneys’ fees for Class Counsel or Service Award for Plaintiff, which speaks to
 2   the fundamental fairness of the process. Kaufman Decl. ¶¶ 3-5.
 3
               For all these reasons, and as further described below, Plaintiff respectfully requests that the
 4
     Court preliminarily approve the Settlement.
 5
         II.       BACKGROUND
 6

 7                a. Facts

 8             The Telephone Consumer Protection Act, 47 U.S.C. § 227 (“TCPA”), and its implementing

 9   regulations were enacted by Congress and the Federal Communications Commission to “offer
10
     consumers greater protection from intrusive telemarketing calls….” 2 The TCPA’s sponsor
11
     described unwanted autodialed and prerecorded calls as “the scourge of modern civilization. They
12
     wake us up in the morning; they interrupt our dinner at night; they force the sick and elderly out of
13
     bed; they hound us until we want to rip the telephone right out of the wall.” 137 Cong. Rec. 30,821
14

15   (1991) (statement of Sen. Hollings). As a remedial statute that was passed to protect consumers

16   from unwanted automated telephone calls, the TCPA is construed broadly to benefit consumers.
17   Gager v. Dell Fin. Servs., LLC, 727 F.3d 265, 271 (3d Cir. 2013). Plaintiff initiated this litigation
18
     against the Defendants alleging violations of the TCPA, and seeking, inter alia, monetary damages.
19
                  b. Procedural History
20
               On February 4, 2019, Plaintiff filed the Complaint against Western Dental Services, Inc. in
21

22   this action. [D.E. 1]. On April 10, 2019, Plaintiff filed an Amended Complaint adding an additional

23   claim against Western Dental. On June 28, 2019, Plaintiff sought leave to file a Second Amended

24   Complaint adding RevSpring as a defendant.
25

26

27
     2
      Federal Communications Commission, Small Entity Compliance Guide for the TCPA (dated May
28   13, 2013), https://apps.fcc.gov/edocs_public/attachmatch/DA-13-1086A1.pdf.
                                                       3            MOTION FOR PRELIMINARY
                                                                   APPROVAL OF SETTLEMENT
                                                                   CASE NO. 3:19-CV-00612-MMC
 1          On August 30, 2019, RevSpring filed a Motion to Dismiss Non-California Class Members,
 2   a Motion to Strike Class Allegations, a Motion to Dismiss, based in part on the Constitutionality of
 3
     the TCPA, and a Motion to Stay the Proceedings [D.E. 48, 49,50, and 51]. On September 23, 2019,
 4
     Plaintiff responded in opposition to the four Motions [D.E. 55, 56, 57, and 58]. On September 30,
 5
     2019, RevSpring filed Replies as to all of the Motions [D.E. 59, 60, 62, 63]. Both before and after
 6

 7   this time, the parties engaged in written first party and third party discovery, the exchange of

 8   documents and other information, and Defendants’ corporate representative depositions.

 9          After the Motions were fully briefed and after the commencement of discovery, the Parties
10
     began settlement negotiations and agreed to engage in mediation. Based on the Parties’ analyses
11
     of the relative strengths and weaknesses of their cases through formal and informal discovery, on
12
     December 4, 2019, the Parties engaged in a full-day, contentious mediation at JAMS in Los Angeles
13
     with mediator Bruce A. Friedman, resulting in an agreement in principle to settle the Action.
14

15   Thereafter, the Parties provided notice of the Parties’ agreement to settle the Action. Following

16   nearly two months of further negotiations and further discovery, the Parties resolved all remaining
17   issues, culminating in the Settlement Agreement.
18
            The Parties recognize and acknowledge the expense and length of continued proceedings
19
     that would be necessary to prosecute the Litigation against Defendants through trial and potentially
20
     appeals. Plaintiff’s counsel has taken into account the strength of Defendant RevSpring’s pending
21

22   Motions, Defendants’ defenses, difficulties in obtaining class certification and proving liability, the

23   uncertain outcome and risk of the litigation, especially in complex actions such as this one, and the

24   inherent delays in such litigation. Plaintiff’s counsel believes that the proposed Settlement confers
25   substantial and immediate benefits upon the Settlement Class whereas continued and protracted
26
     litigation, even if successful, may have ultimately delivered none. Based on their evaluation of all
27

28
                                                        4               MOTION FOR PRELIMINARY
                                                                        APPROVAL OF SETTLEMENT
                                                                        CASE NO. 3:19-CV-00612-MMC
 1   of these factors, Plaintiff and Plaintiff’s counsel have determined that the Settlement is in the best
 2   interests of Plaintiff and the Settlement Class.
 3
        III.      SUMMARY OF THE SETTLEMENT TERMS
 4
               The following provides a summary and discussion of the material terms of the Settlement.
 5
                  a. The Settlement Class
 6

 7             The proposed Settlement establishes a Settlement Class of:

 8             All regular users or subscribers to numbers assigned to wireless carriers to which a
               text message was attempted using RevSpring’s TalkSoft platform, after RevSpring
 9             received a text message containing the word “stop” from such number in response
               to a Western Dental text message, within four years of February 4, 2019.
10

11   Excluded from the Settlement Class are: (1) the Judge presiding over this action (or the Judge or

12   Magistrate presiding over the action through which this matter is presented for settlement), and

13   members of their families; (2) the Defendants, Defendants’ respective subsidiaries, parent
14
     companies, successors, predecessors, and any entity in which the Defendants or their parents have
15
     a controlling interest and its current or former officers and directors; (3) persons who properly
16
     execute and file a timely request for exclusion from the class; and (4) the legal representatives,
17
     successors or assigns of any such excluded person(s). Agreement at ¶ 1.1.36. The Settlement Class
18

19   encompasses the putative class members of all four of the putative classes defined in the Second

20   Amended Complaint.
21                b. Settlement Consideration
22
               Pursuant to the Settlement Agreement, upon Preliminary Approval, Defendants will
23
     establish a Settlement Fund in the amount of Nine Million Seven Hundred Thousand Dollars
24
     ($9,700,000) for the purpose of making all required payments under the Settlement, including
25

26   payments for Approved Claims, any approved Fee Award, any approved service award for

27   Representative Plaintiff, and the costs of reasonable class notice and class administration. The

28   Parties agree Defendants’ maximum monetary obligation under this Agreement shall not exceed
                                                 5               MOTION FOR PRELIMINARY
                                                                APPROVAL OF SETTLEMENT
                                                                CASE NO. 3:19-CV-00612-MMC
 1   $9,700,000. Agreement at Section 4.
 2          Moreover, as a direct result of this litigation, Defendants have stopped the complained of
 3
     practice of sending text messages to persons after an opt out request is sent. The harm that the
 4
     TCPA seeks to redress is consumer privacy violations through unsolicited telemarketing, including
 5
     text messages, and this litigation and the Settlement accomplish this goal.
 6

 7              c. Settlement Administrator

 8          Pending this Court’s approval, Epiq Systems will serve as the Settlement Administrator.

 9   The Settlement Administrator’s responsibilities include: i. obtaining contact information for
10
     Settlement Class members from Defendants; ii. providing Mailed Notice; iii. establishing and
11
     maintaining the Settlement Website; iv. providing Long Form Notice through the Settlement
12
     Website; v. receiving, evaluating, and processing Claim Forms; vi. advising Settlement Class
13
     members if their Claim Forms are deficient; vii. providing reports about the Notice Plan and number
14

15   and identity of opt-outs (if any) to Class Counsel counsel; viii. responding to any Settlement Class

16   member inquiries; ix. processing all opt-out requests from the Settlement Class; x. at Class
17   Counsel’s request in advance of the Final Approval Hearing, preparing an affidavit to submit to the
18
     Court that identifies each Settlement Class member who timely and properly requested exclusion
19
     from the Settlement Class; xi. performing the duties described in the Agreement, and any other
20
     Settlement-administration-related function at the joint instruction of Class Counsel and Defendants;
21

22   and xii. distributing claim payments to the Settlement Class Members that file Approved Claims,

23   as detailed in the Agreement. Agreement at Sections 7 and 8.

24          The anticipated administration costs are $351,898, see Exhibit A attached to the Declaration
25   of Avi R. Kaufman, which will be paid from the Settlement Fund. Those costs are reasonable
26
     compared to the size of the Settlement Fund and in light of the costs for First Class Mail notice to
27
     thousands of Class Members, plus First Class Mailing of the settlement checks.
28
                                                       6              MOTION FOR PRELIMINARY
                                                                      APPROVAL OF SETTLEMENT
                                                                      CASE NO. 3:19-CV-00612-MMC
 1              d. The Notice Plan
 2          The Settlement Administrator will be responsible for administrating the Notice Plan. The
 3
     Notice Plan consists of two different components: (1) direct Mailed Notice and (2) Long-Form
 4
     Notice to be provided on the Settlement Website. Agreement at Section 7. The forms of the
 5
     proposed Long-Form Notice and Mailed Notice agreed upon by Plaintiff’s Counsel and
 6

 7   Defendants, subject to this Court’s approval and/or modification, are attached to the Settlement

 8   Agreement as Exhibits B and C.

 9          The Notice program is designed to provide the Settlement Class with important information
10
     regarding the Settlement and their rights thereunder, including a description of the material terms
11
     of the Settlement; a date by which Settlement Class members may exclude themselves from or
12
     “opt-out” of the Settlement; a date by which Settlement Class members may object to the
13
     Settlement; the process for submission of and a date by which a valid and timely Claim Form must
14

15   be submitted; Class Counsel’s fee application and/or the request for a Service Award; the date of

16   the Final Approval Hearing; information regarding the Settlement Website where Settlement Class
17   members may access the Agreement, and other important documents. The Notice Plan here is
18
     straightforward, easy to understand for Settlement Class members, and designed to inform members
19
     of their rights under the Agreement. Kaufman Decl. ¶ 10.
20
            In connection with the direct Mailed Notice Plan, the Settlement Administrator shall
21

22   perform reverse telephone number look ups to determine available associated mailing addresses

23   that might exist for any Settlement Class members for whom Western Dental does not have such

24   addresses, shall run addresses through the National Change of Address Database, and shall make
25   reasonable attempts to resend notice to those whose notices are returned as undelivered. The
26
     Settlement Administrator shall send direct notice within thirty (30) days after the Court enters the
27
     Preliminary Approval Order.
28
                                                       7              MOTION FOR PRELIMINARY
                                                                      APPROVAL OF SETTLEMENT
                                                                      CASE NO. 3:19-CV-00612-MMC
 1              e. Opt-Out and Objection Procedures
 2          Any Settlement Class Member who does not wish to participate in this Settlement must
 3
     write to the Settlement Administrator stating an intention to be “excluded” from this Settlement.
 4
     This written request for exclusion must be sent via first class United States mail to the Settlement
 5
     Administrator at the address set forth in the Notice and postmarked no later than the Opt-Out
 6

 7   Deadline. A request for exclusion must be signed by the Settlement Class Member, and must

 8   include the Settlement Class Member’s name, address, and the telephone number that allegedly

 9   received a text or text messages sent by Defendant RevSpring after the Settlement Class Member
10
     texted “stop” after receiving a text from Western Dental during the Settlement Class Period, and
11
     must clearly state that the Person wishes to be excluded from the Litigation and the Agreement.
12
     A request for exclusion that does not include all of this information, or that is sent to an address
13
     other than that designated in the Notice, or that is not postmarked within the time specified, shall
14

15   be invalid, and the Person serving such a request shall be a member of the Settlement Class and

16   shall be bound as a Settlement Class Member by the Court’s Orders in this Litigation and by this
17   Agreement, if approved. The request for exclusion must be personally signed by the Settlement
18
     Class Member. So-called “mass” or “class” opt-outs shall not be allowed. Settlement Class
19
     members who timely opt-out of the Settlement will preserve their rights to individually pursue any
20
     claims they may have against Defendants, subject to any defenses that Defendants may have against
21

22   those claims. Agreement at ¶ 10.4.

23          Settlement Class Members shall have the right to appear and show cause, if they have any

24   reason why the terms of this Agreement should not be given final approval, subject to each of the
25   sub-provisions contained in section 10.2 of the Agreement. Any objection to the Settlement
26
     Agreement, including any of its terms or provisions, must be in writing, filed with the Court, with
27
     a copy served on Class Counsel, Counsel for Defendants, and the Settlement Administrator at the
28
                                                       8              MOTION FOR PRELIMINARY
                                                                      APPROVAL OF SETTLEMENT
                                                                      CASE NO. 3:19-CV-00612-MMC
 1   addresses set forth in the Notice, and postmarked no later than the Opt-Out Deadline. Settlement
 2   Class Members may object either on their own or through an attorney hired at their own expense.
 3
             Any objection regarding or related to the Agreement shall contain a caption or title that
 4
     identifies it as “Objection to Class Settlement in Bulette v. Western Dental Services, Inc. and
 5
     RevSpring, Inc., No. 3:19-cv-00612-MMC” and also shall contain the following information: (i)
 6

 7   the objector’s name, address, and telephone number; (ii) the name, address, and telephone number

 8   of any attorney for the objector with respect to the objection; (iii) the factual basis and legal grounds

 9   for the objection, including any documents sufficient to establish the basis for his or her standing
10
     as a Settlement Class Member, including the phone number(s) at which he or she received text(s)
11
     covered by this Settlement; and (iv) identification of the case name, case number, and court for any
12
     prior class action lawsuit in which the objector and the objector’s attorney (if applicable) has
13
     objected to a proposed class action settlement. If an objecting party chooses to appear at the hearing,
14

15   no later than the Opt-Out Deadline, a notice of intention to appear, either in person or through an

16   attorney, must be filed with the Court and list the name, address, and telephone number of the
17   person and attorney, if any, who will appear. Agreement at ¶10.2.
18
                 f. Release of Claims
19
             In exchange for the Settlement consideration, Plaintiff and all Settlement Class Members,
20
     agree to the release as defined in Sections 1.1.28 and 9 of the Agreement. The Released Claims
21

22   are narrowly defined to the subject matter of this action and only release the claims, liabilities,

23   demands, causes of action , or lawsuits of the Settlement Class Members that were brought in the

24   Litigation or that arise from text messages sent, or attempted to be sent, by or on behalf of
25   Defendants within the four years preceding February 4, 2019.
26
                 g. Calculation of Approved Claim Payments
27
             Each Settlement Class Member who timely submits a valid Claim Form by the Claims
28
                                                         9               MOTION FOR PRELIMINARY
                                                                         APPROVAL OF SETTLEMENT
                                                                         CASE NO. 3:19-CV-00612-MMC
 1   Deadline shall be entitled to a single payment in an amount equivalent to his or her pro rata share
 2   of the Settlement Fund after any approved Fee Award, any approved Service Award, and Settlement
 3
     Administration Expenses are deducted. Each Settlement Class Member shall be entitled to receive
 4
     an amount equal to the Settlement Class Recovery divided by the total number of Approved Claims.
 5
     Agreement at Section 4.
 6

 7              h. Distribution of Settlement Fund

 8          Within sixty (60) days after the Effective Date, or such other date as the Court may set, the

 9   Settlement Administrator shall pay from the Settlement Fund all Approved Claims by check made
10
     payable to the Settlement Class Member submitting each Approved Claim, and shall mail the
11
     checks via first-class mail.
12
            All payments to Settlement Class Members via check will state on the face of the check that
13
     the check will expire and become null and void unless cashed within one hundred eighty (180) days
14

15   after the date of issuance. To the extent that any checks to Settlement Class Members expire and

16   become null and void, the Settlement Administrator shall distribute the funds associated with those
17   checks on a pro rata basis to Settlement Class Members who submitted an Approved Claim and
18
     who cashed their checks, if doing so is administratively and economically feasible (i.e., those
19
     Settlement Class Members would receive a second distribution of more than $5 after costs of
20
     administration). Any remaining monies, including to the extent a second distribution is not
21

22   administratively feasible, shall escheat to the applicable state. Agreement at ¶ 8.4.

23              i. Claims Process

24          Each member of the Settlement Class who does not timely opt-out from the Settlement shall
25   be a Settlement Class Member and entitled to make a claim. The form of the proposed Claim Form
26
     agreed upon by Class Counsel and Defendant, subject to this Court’s approval and/or modification,
27
     is attached to the Settlement Agreement as Exhibit A. Only one claim per telephone number will
28
                                                       10              MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1   be validated and deemed an Approved Claim. To the extent of a deficiency in a Claim Form, the
 2   Settlement Administrator will attempt to notify the Settlement Class Member that the Claim Form
 3
     was deficient. Any Settlement Class Member who submits an incomplete or inaccurate Claim Form
 4
     shall be permitted to re-submit a Claim Form.
 5
                j. Class Counsel Fees and Expenses and Plaintiff’s Service Award
 6

 7        Defendants have agreed to pay from the Settlement Fund, reasonable attorneys’ fees and costs

 8   to Class Counsel, and a Service Award to the Class Representative, in amounts approved by the

 9   Court.
10
          Class Counsel, on behalf of Representative Plaintiff, shall petition the Court for a
11
     Representative Plaintiff incentive award not to exceed $5,000. In the event the Court approves the
12
     Settlement, but declines to award a Representative Plaintiff service award in the amount requested
13
     by Class Counsel, the Settlement will nevertheless be binding on the Parties and all Settlement
14

15   Class Members. Agreement at Section 5.

16        Class Counsel intends to apply to the Court for attorneys’ fees totaling not more than one-
17   third of the Settlement Fund ($3,233,333.33) and documented and reasonable expenses and costs
18
     not to exceed $25,000.00. Class Counsel’s application for fees, expenses, and costs and the request
19
     for an incentive award shall be filed no later than thirty-five (35) days prior to the Opt-Out Deadline.
20
     In the event the Court approves the Settlement, but declines to award a Fee Award in the amount
21

22   requested by Class Counsel, the Settlement will nevertheless be binding on the Parties and the

23   Settlement Class Members. Agreement at Section 6.

24            The Court should consider whether to grant or deny these awards separate and apart from
25   its consideration of the fairness and reasonableness of the Settlement.
26

27

28
                                                        11               MOTION FOR PRELIMINARY
                                                                         APPROVAL OF SETTLEMENT
                                                                         CASE NO. 3:19-CV-00612-MMC
 1      IV.      THE PROPOSED SETTLEMENT WARRANTS PRELIMINARY APPROVAL
 2               a. The Legal Standard for Preliminary Approval
 3
              Rule 23(e) of the Federal Rules of Civil Procedure provides that before a class action may
 4
     be dismissed or compromised, notice must be given in the manner directed by the court, and judicial
 5
     approval must be obtained. Fed. R. Civ. P. 23(e). As a matter of public policy, courts favor
 6

 7   settlement of class actions for their earlier resolution of complex claims and issues, which promotes

 8   the efficient use of judicial and private resources. E.g., Wal-Mart Stores, Inc. v. Visa U.S.A. Inc.,

 9   396 F.3d 96, 116 (2d Cir. 2005). The policy favoring settlement is especially relevant in class
10
     actions and other complex matters, where the inherent costs, delays and risks of continued litigation
11
     might otherwise overwhelm any potential benefit the class could hope to obtain. See, e.g., id.; see
12
     also Newberg on Class Actions § 11.41 (4th ed. 2002) (citing cases).
13
              Approval of a class action settlement is a two-step process. The Court’s first step in the
14

15   process of granting preliminary approval of a settlement is to determine that the proposed

16   settlement class is appropriate for certification. Amchem Prods. Inc. v. Windsor, 521 U.S. 591,
17   620 (1997); Manual for Compl. Litig., § 21.632 (4th ed. 2004). To certify a class, the plaintiff
18
     must demonstrate that the proposed class and proposed class representative meet four
19
     requirements: (1) numerosity; (2) commonality; (3) typicality; and (4) adequacy of representation.
20
     Fed. R. Civ. P. 23(a)(1–4). Prior to formal class certification, a preliminary fairness
21

22   determination is appropriate “[i]f the proposed settlement appears to be the product of serious,

23   informed, non-collusive negotiations, has no obvious deficiencies, does not improperly grant

24   preferential treatment to class representatives or segments of the class, and falls within the range
25   of possible approval.” In re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal.
26
     2007) (internal citation omitted). Given that the Court will have the opportunity to weigh the
27
     settlement’s strengths and weaknesses with more information at the final approval hearing, the
28
                                                        12              MOTION FOR PRELIMINARY
                                                                        APPROVAL OF SETTLEMENT
                                                                        CASE NO. 3:19-CV-00612-MMC
 1   preliminary approval hearing need not substitute for that level of review. De Leon v. Ricoh USA,
 2   Inc., No. 18-cv-03725-JSC, 2019 U.S. Dist. LEXIS 204442, at *27 (N.D. Cal. Nov. 25, 2019);
 3
     see also Newberg on Class Actions § 13.13 (5th ed. 2016) (“Bearing in mind that the primary goal
 4
     at the preliminary review stage is to ascertain whether notice of the proposed settlement should be
 5
     sent to the class, courts sometimes define the preliminary approval standard as determining
 6

 7   whether there is ‘probable cause’ to submit the [settlement] to class members and [to] hold a full-

 8   scale hearing as to its fairness.”). In the second step, after notice to settlement class members and

 9   time and opportunity for them to object or otherwise be heard, the court considers whether to
10
     grant final approval of the settlement as fair and reasonable under Rule 23.
11
            The Court should take the first step in the process and grant Preliminary Approval of the
12
     Settlement. The Settlement is clearly within the range of reasonableness and satisfies all standards
13
     for Preliminary Approval.
14

15              b. The Settlement Satisfies the Criteria for Preliminary Approval

16          Prior to formal class certification, a preliminary fairness determination is appropriate “[i]f
17   the proposed settlement appears to be the product of serious, informed, non-collusive negotiations,
18
     has no obvious deficiencies, does not improperly grant preferential treatment to class
19
     representatives or segments of the class, and falls within the range of possible approval.” In re
20
     Tableware Antitrust Litig., 484 F. Supp. 2d at 1079 (internal citation omitted); see also Ross v. A.H.
21

22   Robins Co., 700 F. Supp. 682, 683 (S.D.N.Y. 1988) (“A strong initial presumption exists in favor

23   of a proposed settlement where the proponents establish that: (i) the settlement is not collusive but

24   was reached after arm’s length negotiation; (ii) the proponents have counsel experienced in similar
25   cases; (iii) there has been sufficient discovery to enable counsel to act intelligently; and (iv) the
26
     number of objectants or their relative interest is small.”).
27

28
                                                        13             MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1          Each of the relevant factors weighs heavily in favor of Preliminary Approval of this
 2   Settlement. The Settlement was the result of serious, informed, non-collusive negotiations, has no
 3
     obvious deficiencies, and does not improperly grant preferential treatment to any segments of the
 4
     class. Furthermore, a preliminary review of the factors related to the fairness, adequacy and
 5
     reasonableness of the Settlement demonstrates that it fits well within the range of reasonableness,
 6

 7   such that Preliminary Approval is appropriate. Kaufman Decl. ¶ 11.

 8          Any settlement requires the parties to balance the merits of the claims and defenses asserted

 9   against the attendant risks of continued litigation and delay. Plaintiff and Class Counsel believe
10
     that the claims asserted are meritorious and that Plaintiff would prevail if this matter proceeded to
11
     trial. Defendants deny any liability and are willing to litigate vigorously. Kaufman Decl. ¶ 12. The
12
     Parties recognize and acknowledge the expense and length of continued proceedings that would be
13
     necessary to prosecute the Litigation against Defendants through trial and potentially appeals.
14

15   Plaintiff’s counsel also has taken into account the strength of Defendants’ defenses, difficulties in

16   proving liability, including the legal theories of vicarious liability and agency, the uncertain
17   outcome and risk of the litigation, especially in complex actions such as this one, and the inherent
18
     delays in such litigation.   Plaintiff’s counsel believes that the proposed Settlement confers
19
     substantial and immediate benefits upon the Settlement Class. Based on their evaluation of all of
20
     these factors, Plaintiff and Plaintiff’s counsel have determined that the Settlement is in the best
21

22   interests of Plaintiff and the Settlement Class, who otherwise may have received nothing. Kaufman

23   Decl. ¶ 9.

24                      i. The Settlement Agreement is the Product of Serious, Informed and
25                          Arm’s Length Negotiations
26
            First, the proposed settlement is the product of serious, informed, non-collusive
27
     negotiations. Settlement negotiations are generally found to be non-collusive when reached with
28
                                                       14              MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1   the assistance of a third-party neutral, see, e.g., Boring v. Bed Bath & Beyond of Cal. LLC, No. 12-
 2   cv-05259-JST, 2013 U.S. Dist. LEXIS 165909, at *21 (N.D. Cal. Nov. 21, 2013), and are found to
 3
     have been informed where the parties exchanged evidence and information prior to negotiations.
 4
     See, e.g., Konstantinos Moshogiannis v. Sec. Consultants Grp., Inc., No. 5:10-cv-05971 EJD, 2012
 5
     U.S. Dist. LEXIS 16287, at *14 (N.D. Cal. Feb. 8, 2012) (holding that settlement was fair,
 6

 7   reasonable, and adequate where, inter alia, “the parties conducted a significant amount of informal

 8   discovery…”); Williams v. Costco Wholesale Corp., No. 02-cv-2003, 2010 U.S. Dist. LEXIS

 9   19674, at *16 (S.D. Cal. Mar. 4, 2010) (“Plaintiff ha[d] sufficient information from investigation
10
     and from informal discovery to have a clear view of the strengths and weaknesses of the case and
11
     to support the settlement.”). Here, Plaintiff served and received responses to written discovery
12
     issued to both Defendants, conducted corporate representative depositions of both Defendants, and
13
     engaged in the informal exchange of information concerning the claims and Defendants’ respective
14

15   defenses before finalizing the proposed Settlement. Class Counsel conducted a thorough

16   investigation and analysis of Plaintiff’s claims and engaged in extensive formal and informal
17   discovery with Defendants. Kaufman Decl. ¶ 4. Class Counsel’s review of that discovery and
18
     attendant issues enabled them to gain an understanding of the evidence related to central questions
19
     in the Action and prepared them for well-informed settlement negotiations. The Settlement here is
20
     the result of extensive, arm’s-length negotiations between experienced attorneys who are familiar
21

22   with class action litigation and with the legal and factual issues of this Action. Kaufman Decl. ¶

23   13. Furthermore, Class Counsel are particularly experienced in the litigation, certification, and

24   settlement of nationwide TCPA class action cases. Kaufman Decl. ¶ 14 and Exhibit B thereto.
25   Class Counsel zealously represented Plaintiff and the Settlement Class members’ interests
26
     throughout the litigation and continue to do so. Kaufman Decl. ¶ 15.
27

28
                                                      15              MOTION FOR PRELIMINARY
                                                                      APPROVAL OF SETTLEMENT
                                                                      CASE NO. 3:19-CV-00612-MMC
 1                      ii. There Are No Obvious Deficiencies in the Settlement
 2          The Settlement is reasonable and fair, and there are no obvious deficiencies in the
 3
     Settlement. Class Counsel are confident in the strength of Plaintiff’s case, but are also pragmatic
 4
     in their awareness of the various defenses available to Defendants, and the risks inherent in the
 5
     pending motions, trial, and post-judgment appeal. Kaufman Decl. ¶ 6. The success of Plaintiff’s
 6

 7   claims turn on questions that would arise from the pending dispositive Motions, at class

 8   certification, summary judgment, and trial, and during an inevitable post-judgment appeal. Under

 9   the circumstances, Class Counsel appropriately determined that the Settlement outweighs the risks
10
     of continued litigation. Kaufman Decl. ¶ 6.
11
            Moreover, the Settlement provides an excellent result and immediate monetary relief to
12
     members of the Settlement Class and includes a comprehensive Notice Plan, as outlined above.
13
     Payments for attorneys’ fees, expenses, and an incentive award for the class representative are to
14

15   be paid from the Settlement Fund, but settlement is not conditioned on any such award. The

16   Settlement includes Opt-Out and Objection provisions. Payments from the Settlement Fund that
17   are not successfully delivered to class members will be divided among remaining class members,
18
     if administratively feasible, with no reversion of Settlement Funds to Defendants. The release of
19
     liability is also narrowly tailored to the claims presented in the action. Agreement at Section 9. The
20
     Agreement provides for a Settlement Administrator to coordinate notice to the class, any requests
21

22   for exclusion, and payments to class members upon final approval. Accordingly, there are no

23   obvious deficiencies with this settlement. E.g. De Leon v. Ricoh USA, Inc., No. 18-cv-03725-JSC,

24   2019 U.S. Dist. LEXIS 204442, at *31 (N.D. Cal. Nov. 25, 2019) (granting preliminary approval
25   to class settlement after analyzing the general settlement provisions and finding there were no
26
     obvious deficiencies).
27

28
                                                       16              MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1                     iii. The Settlement Provides No Preferential Treatment
 2          The settlement provides no preferential treatment to any individual member of the proposed
 3
     settlement class. Under the settlement, everyone in the class is treated exactly the same: each class
 4
     member seeking to recover a portion of the Settlement Fund must submit the same Claim Form,
 5
     and each class member submitting a Valid Claim will receive the same pro rata distribution from
 6

 7   the Settlement Fund. While Plaintiff will be seeking from this Court an incentive award in

 8   recognition of the time and effort she spent acting as class representative, such awards are common

 9   and in no way preclude preliminary approval. See, e.g., Harris v. Vector Mktg. Corp., No. C-08-
10
     5198 EMC, 2011 U.S. Dist. LEXIS 48878, at *28 (N.D. Cal. Apr. 29, 2011).
11
                       iv. The Settlement Is Within the Range of Possible Approval
12
            In evaluating the range of possible approval, “courts primarily consider plaintiffs’ expected
13
     recovery balanced against the value of the settlement offer.” Tableware, 484 F. Supp. 2d at 1080.
14

15   The monetary relief here and the fact that this litigation directly caused the Defendants to cease the

16   violative practice places the Settlement well within the range of possible approval. Moreover,
17   Courts have determined that settlements may be reasonable even where plaintiffs recover only part
18
     of their actual losses. Courts recognize that the “essence of settlement is compromise,” and a
19
     settlement need not represent a complete victory for the plaintiffs for it to be approved. Isby v.
20
     Bayh, 75 F.3d 1191, 1200 (7th Cir. 1996) (quoting Armstrong v. Board of Sch. Dirs., 616 F.2d 305,
21

22   315 (7th Cir. 1980), overruled on other grounds by Felzen v. Andreas, 134 F.3d 873 (7th Cir.

23   1998)). Although the TCPA provides for statutory damages of $500 for each violation, it is well-

24   settled that a proposed settlement may be acceptable even though it amounts to only a small
25   percentage of the potential recovery that might be available to the class members at trial. See e.g.,
26
     National Rural Tele. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal. 2004) (noting that
27
     it is “well settled law that a proposed settlement may be acceptable even though it amounts to only
28
                                                       17              MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1   a fraction of the potential recovery”). “The Court’s function on this application is well known it is
 2   not to reopen and enter into negotiations with the litigants in the hope of improving the settlement
 3
     to meet an objector’s particular objections; nor is the Court called upon to substitute its business
 4
     judgment for that of the parties who worked out a settlement after hard, arm’s-length, good-faith
 5
     bargaining. Rather, it is called upon to evaluate the probabilities of success upon a trial and to
 6

 7   compare the benefits thereof with the terms of compromise.” Kuck v. Berkey Photo, Inc., 87 F.R.D.

 8   75, 78 (S.D.N.Y. 1980).

 9          Defendants will pay $9.7 million into a non-reversionary settlement fund to resolve this
10
     matter. This amount is significant in its own right, and the amount per Class Member fits within
11
     the range of similar settlements. Here, given the anticipated Class Member participation rate, the
12
     likely per Class Member recovery is likely to be between $100 and $200. See Cabiness v. Educ.
13
     Fin. Sols., LLC, No. 16-CV-01109-JST, 2019 U.S. Dist. LEXIS 50817, at *12 (N.D. Cal. Mar. 26,
14

15   2019) (granting final approval where, based on class member participation, each member’s pro rata

16   share will be $33.36); Estrada v. iYogi, Inc., No. 2:13–01989 WBS (CKD), 2015 U.S. Dist. LEXIS
17   137299, at *19 (E.D. Cal. Oct. 6, 2015) (granting preliminary approval to TCPA settlement where
18
     class members estimated to receive $40); In re Capital One TCPA Litig, 80 F. Supp. 3d 781 (N.D.
19
     Ill. 2015) (providing for payments of $34.60 to each claiming class member).
20
            The settlement in the present case satisfies each of the four factors generally considered by
21

22   courts in this district on preliminary approval, this Court should—consistent with the Ninth

23   Circuit’s strong judicial policy favoring settlement—preliminarily approve the Settlement

24   Agreement.
25          The $9,700,000.00 available for the Settlement Class is more than reasonable given the
26
     complexity of the litigation, and significant risks and barriers that loomed in the absence of
27
     settlement including, but not limited to, Defendant RevSpring’s pending dispositive Motion class
28
                                                       18              MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1   certification, anticipated summary judgment and Daubert motions, trial as well as appellate review
 2   following a final judgment. There can be no doubt that this Settlement is a fair and reasonable
 3
     recovery. Kaufman Decl. ¶ 16.
 4
                c. Certification of the Settlement Class is Appropriate
 5
            Certification under Rule 23(a) of the Federal Rules of Civil Procedure requires that (1) the
 6

 7   class is so numerous that joinder of all members is impracticable, (2) there are questions of law or

 8   fact common to the class, (3) the claims or defenses of the representative parties are typical of the

 9   claims or defenses of the class, and (4) the representative parties will fairly and adequately protect
10
     the interests of the class. Under Rule 23(b)(3), certification is appropriate if the questions of law or
11
     fact common to the members of the class predominate over individual issues of law or fact and if a
12
     class action is superior to other available methods for the fair and efficient adjudication of the
13
     controversy. For settlement purposes, Plaintiff and Class Counsel respectfully request that the
14

15   Court certify the Settlement Class defined in Section 1 of the Agreement. “[T]he ‘settlement only’

16   class has become a stock device in modern class action litigation.” In re American Int’l Group, Inc.
17   Securities Litig., 689 F.3d 229, 238 (2d Cir. 2012). “Confronted with a request for settlement-only
18
     class certification, a district court need not inquire whether the case, if tried, would present
19
     intractable management problems . . . for the proposal is that there be no trial.” Amchem Prods.,
20
     521 U.S. at 620.
21

22          Certification of the proposed Settlement Class will allow notice of the Settlement to issue

23   to inform Settlement Class members of the existence and terms of the Settlement, of their right to

24   object and be heard on its fairness, of their right to opt-out, and of the date, time and place of the
25   Final Approval Hearing. See Manual for Compl. Litig., at §§ 21.632, 21.633. For the reasons set
26
     forth below, certification is appropriate under Rule 23(a) and (b)(3).
27

28
                                                        19               MOTION FOR PRELIMINARY
                                                                         APPROVAL OF SETTLEMENT
                                                                         CASE NO. 3:19-CV-00612-MMC
 1          The numerosity requirement of Rule 23(a) is satisfied because the Settlement Class consists
 2   of approximately thousands of persons, and joinder of all Settlement Class members is
 3
     impracticable. See Fed. R. Civ. P. 23(a)(1).
 4
             “Commonality requires the plaintiff to demonstrate that the class members ‘have suffered
 5
     the same injury,’” and the plaintiff’s common contention “must be of such a nature that it is capable
 6

 7   of classwide resolution – which means that determination of its truth or falsity will resolve an issue

 8   that is central to the validity of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v.

 9   Dukes, 564 U.S. 338, 350 (2011) (citation omitted). Here, the commonality requirement is readily
10
     satisfied. There are multiple questions of law and fact – centering on Defendants’ sending text
11
     messages after class members texted “Stop” – that are common to the Settlement Class, that are
12
     alleged to have injured all Settlement Class members in the same way, and that would generate
13
     common answers.
14

15          For similar reasons, Plaintiff’s claims are reasonably coextensive with those of the absent

16   class members, such that the Rule 23(a)(3) typicality requirement is satisfied. The typicality
17   requirement ensures that “the interest of the named representative aligns with the interests of the
18
     class.” Wolin v. Jaguar Land Rover N. Am., LLC, 617 F.3d 1168, 1175 (9th Cir. 2010). Typicality
19
     is present when a defendant acts uniformly toward the class members, where that uniform conduct
20
     results in injury to the class members, and where the named plaintiffs suffer a similar injury to that
21

22   of the class members as a result. Hanon v. Dataproducts Corp., 976 F.2d 497, 508 (9th Cir. 1992).

23   Plaintiff is typical of the Settlement Class members because she received an unsolicited text

24   message from Defendants after texting “Stop” in response to receiving a text message from Western
25   Dental, and because the Settlement Class members will all benefit from the relief provided by the
26
     Settlement.
27

28
                                                       20              MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1          Plaintiff and Class Counsel also satisfy the adequacy of representation requirement.
 2   Adequacy under Rule 23(a)(4) requires (1) a plaintiff’s attorney to be qualified, experienced, and
 3
     generally able to conduct the proposed litigation; and (2) a plaintiff to not have interests
 4
     antagonistic to those of the class. Lerwill v. Inflight Motion Pictures, Inc., 582 F.2d 507, 512 (9th
 5
     Cir. 1978). Plaintiff’s interests are coextensive with, not antagonistic to, the interests of the
 6

 7   Settlement Class, because Plaintiff and the absent Settlement Class members have the same interest

 8   in the relief afforded by the Settlement, and the absent Settlement Class members have no diverging

 9   interests. Further, Plaintiff and the Settlement Class are represented by qualified and competent
10
     Class Counsel who have extensive experience and expertise prosecuting complex class actions, and
11
     TCPA class actions, in particular. Class Counsel has vigorously litigated this action and will
12
     continue to vigorously prosecute this matter through completion. Kaufman Decl. ¶ 15 and Exhibit
13
     B thereto.
14

15          Rule 23(b)(3)’s predominance requirement tests “whether proposed classes are sufficiently

16   cohesive to warrant adjudication by representation.” Torres v. Mercer Canyons, Inc., 835 F.3d
17   1125, 1134 (9th Cir. 2016) (internal citation omitted). The Settlement Class readily satisfies the
18
     Rule 23(b)(3) predominance requirement because questions common to all Settlement Class
19
     members substantially outweigh any possible issues that are individual to each Settlement Class
20
     member and Defendants’ records identify the list of Settlement Class members’ telephone numbers.
21

22   Further, resolution of thousands of claims in one action is far superior to individual lawsuits,

23   because it promotes consistency and efficiency of adjudication. See Fed. R. Civ. P. 23(b)(3). For

24   these reasons, the Court should certify the Settlement Class.
25

26

27

28
                                                       21              MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1              d. The Court Should Approve the Proposed Notice Plan
 2           “Rule 23(e)(1)(B) requires the court to direct notice in a reasonable manner to all class
 3
     members who would be bound by a proposed settlement, voluntary dismissal, or compromise
 4
     regardless of whether the class was certified under Rule 23(b)(1), (b)(2), or (b)(3).” Manual for
 5
     Compl. Litig., § 21.312 (internal quotation marks omitted). The best practicable notice is that
 6

 7   which is “reasonably calculated, under all the circumstances, to apprise interested parties of the

 8   pendency of the action and afford them an opportunity to present their objections.” Mullane v.

 9   Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950); Manual for Compl. Litig., § 21.312.
10
             The Notice program satisfies this standard. As recited in the Settlement and above, the
11
     Notice Program will inform Settlement Class members of the substantive terms of the Settlement.
12
     It will advise Settlement Class members of their options for remaining part of the Settlement, for
13
     objecting to the Settlement, Class Counsel’s attorneys’ fee application and/or request for service
14

15   award, for opting-out of the Settlement, for submitting a claim, and how to obtain additional

16   information about the Settlement. Through the direct Mailed Notice and Settlement Website, the
17   Notice Plan is designed to reach a high percentage of Settlement Class members and exceeds the
18
     requirements of Constitutional Due Process. Therefore, the Court should approve the Notice
19
     Program and the form and content of the Notices.
20
        V.      PROPOSED SCHEDULE OF EVENTS
21

22           In connection with Preliminary Approval of the Settlement, the Court should also set a date

23   and time for the Final Approval Hearing. Other deadlines in the Settlement approval process,

24   including the deadlines for requesting exclusion from the Settlement Class or objecting to the
25   Settlement, will be determined based on the date of the Final Approval Hearing or the date on which
26
     the Preliminary Approval Order is entered.
27

28
                                                       22              MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1            Class Counsel propose the following schedule:
 2                         Event                                             Date
 3    Notice Date                                       No more than 30 days after Preliminary
                                                        Approval
 4
      Deadline for filing papers in support of Class    No less than 35 days prior to Opt Out
 5    Counsel’s application for an award of             Deadline
      attorneys’ fees and expenses
 6    Deadline for filing Motion for Final Approval     No more than 15 days prior to the Opt Out
                                                        Deadline
 7    Opt-out Deadline                                  45 days after the Notice Date
 8    Responses to Objections                           No more than 7 days prior to the Final
                                                        Approval Hearing
 9    Final Approval Hearing                            Approximately 90 days after entry of
                                                        Preliminary Approval
10    Claims Deadline                                   60 days after the Notice Date
11      VI.       CONCLUSION
12
              Based on the foregoing, Plaintiff and Class Counsel respectfully request that the Court: (1)
13
     grant Preliminary Approval to the Settlement; (2) preliminarily approve the terms of the Settlement
14
     as within the range of fair, adequate and reasonable; (3) provisionally certify the Settlement Class
15

16   pursuant to Federal Rule of Civil Procedure 23(b)(3) and (e) for settlement purposes only; (4)

17   approve the Notice Plan and approve the form and content of the Notices of the Settlement; (5)

18   approve the Claims process; (6) approve the procedures for members of the Settlement Class to
19
     exclude themselves from the Settlement or to object to the Settlement; (7) appoint Plaintiff as Class
20
     Representative; (8) appoint Plaintiff’s counsel Avi R. Kaufman and Rachel E. Kaufman, Kaufman
21
     P.A., and Stefan Coleman, Law Offices of Stefan Coleman, P.A., as Class Counsel; and (9)
22
     schedule a Final Approval hearing, at which the Court will conduct an inquiry into the fairness of
23

24   the Settlement, determine whether it was made in good faith, and determine whether to approve the

25   Settlement and Class Counsel’s application for attorneys’ fees, costs, and expenses and a service
26   award to the Class Representative. A Proposed Preliminary Approval Order is attached hereto as
27
     Exhibit 3.
28
                                                       23              MOTION FOR PRELIMINARY
                                                                       APPROVAL OF SETTLEMENT
                                                                       CASE NO. 3:19-CV-00612-MMC
 1   Date: January 31, 2020                      Respectfully submitted,
 2                                           By: s/ Rachel E. Kaufman
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16                                               Email: david@davidratnerlawfirm.com
17                                               Counsel for Plaintiff and all others similarly situated
18
                                    CERTIFICATE OF SERVICE
19
            I HEREBY CERTIFY that on January 31, 2020, I electronically filed the foregoing
20
     document with the Clerk of the Court using CM/ECF, and it is being served this day on all
21

22   counsel of record via transmission of Notice of Electronic Filing generated by CM/ECF.

23

24                                                        /s/ Rachel E. Kaufman
                                                          Rachel E. Kaufman
25

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                                                     24              MOTION FOR PRELIMINARY
                                                                     APPROVAL OF SETTLEMENT
                                                                     CASE NO. 3:19-CV-00612-MMC
